
The defendants, and each of them, being in default for answer or demurrer to said petition, the court finds the facts stated in said petition to be admitted to be true and that they are in fact true. It is, therefore, considered, ordered and adjudged by the court that the defendant, the Clinton Township Rural School District of Knox County, Ohio, be and the same hereby is directed to pay to the said Harry Si. Day, as Treasurer of State of the State of Ohio, from the funds coming into- its possession from the June collection and August distribution of taxes, the sums due and payable as installments or principal and interest on all installments of bonds due at the time of the receipt of said moneys from said collection and distribution of taxes; and also that they pay interest on installments of principal overdue from the time that said amounts are so due until the date of payment.
It is further ordered and adjudged that from *730said funds so coming into the possession of said board of education from said collection and distribution of taxes, said board set aside from said funds a sufficient amount to pay the installments of principal and interest thereafter falling due prior to the receipt of taxes from December, 1925, collection, and the February, 1926, distribution of taxes. That said funds be placed in the interest and bond retirement fund and there be held until said principal installments and interest are due, whereupon said board of education is ordered and directed to apply said amounts to the extinguishment of said principal and interest and in preference to all other purposes.
It is further ordered and adjudged that said board of education, include in its budget to be filed on the first Monday of June, 1925, an adequate amount to pay the interest and principal installments on said bonds for the incoming tax year and that said board place said request and levy before and in preference to all other items and for the full amount thereof.
It is further ordered and adjudged that said defendant, Howard McFarland, County Auditor of Knox county, be and he hereby is ordered to make the levy for the payment of interest and principal installments on all bonds issued by said board of education of Clinton Township Rural School District, Knox County, Ohio, subsequent to August, 1921, as required of him by Section 5649-lb, General Code of Ohio.

Judgment for plaintiff by default.

Marshall, C. J., Jones, Matthias, Day, Allen and Robinson, JJ., concur.
